                 Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 1 of 30




 1
     Corrie J. Yackulic
 2   CORRIE YACKULIC LAW FIRM PLLC
     110 Prefontaine Place South, Suite 304
 3   Seattle, Washington 98104
     Tel. 206.787.1915
 4   Fax. 206.299.9725
 5   Corrie@cjylaw.com

 6

 7

 8

 9                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
10                                       AT SEATTLE

11     JOHN EDWARD COE and HEATHER                       Case No.
       NICOLE COE, husband and wife and their
12     marital community,
13                           Plaintiffs,                 COMPLAINT
14     v.
                                                         JURY DEMAND
15     MONSANTO COMPANY,
16                                   Defendant.
17
                                     I.       CIVIL COMPLAINT
18
             Plaintiffs JOHN EDWARD COE and HEATHER NICOLE COE (“Plaintiffs”), by and
19
      through their undersigned attorneys, hereby bring this Complaint for damages against Defendant
20

21    Monsanto Company and allege the following:

22                                 II.     NATURE OF THE CASE
23
            1.       This is an action for damages suffered by Plaintiffs as a direct and proximate
24
     result of Defendant’s negligent and wrongful conduct in connection with the design,
25
     development, manufacture, testing, packaging, promoting, marketing, advertising, distribution,
26
                                                                  Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                  110 Prefontaine Place South, Suite 304
      PAGE 1                                                          Seattle, Washington 98104
                                                                           Tel. 206.787.1915
                                                                          Fax. 206.299.9725
                  Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 2 of 30




 1
     labeling, and/or sale of the herbicide Roundup® (“Roundup”), containing the active ingredient
 2
     glyphosate.
 3
             2.       Plaintiffs maintain that Roundup and/or glyphosate are defective, dangerous to
 4
     human health, unfit and unsuitable to be marketed and sold in commerce and lacked proper
 5

 6   warnings and directions as to the dangers associated with their use.

 7           3.       Plaintiffs’ injuries and losses, like those striking thousands of similarly situated
 8   victims across the country, were avoidable.
 9
                                    III.   JURISDICTION AND VENUE
10
             4.       This Court has jurisdiction over Defendant and this action pursuant to 28 U.S.C.
11
     1332 because there is complete diversity of citizenship between Plaintiffs and Defendant.
12
     Defendant is incorporated and has its principal place of business outside of Washington State,
13

14   where the Plaintiffs reside.

15           5.       The amount in controversy between Plaintiffs and Defendant exceeds $75,000,

16   exclusive of interest and cost.
17
             6.       Venue is proper within this district pursuant to 28 U.S.C. § 1391 in that Defendant
18
     conducts business here and is subject to personal jurisdiction in this district. Furthermore,
19
     Defendant sells, markets, and/or distributes Roundup within the Western District of Washington
20
     (Seattle).
21

22                                            IV.     PARTIES

23           7.       Plaintiffs JOHN EDWARD COE and HEATHER NICOLE COE, are husband

24   and wife, and at all times relevant to this action, were residents of Lake Stevens, Snohomish
25
     County, Washington, and live there today. Plaintiffs bring this action for personal injuries
26
                                                                      Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                      110 Prefontaine Place South, Suite 304
      PAGE 2                                                              Seattle, Washington 98104
                                                                               Tel. 206.787.1915
                                                                              Fax. 206.299.9725
                 Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 3 of 30




 1
     sustained by JOHN EDWARD COE’s exposure to Roundup containing the active ingredient
 2
     glyphosate and the surfactant polyethoxylated tallow amine (“POEA”). As a direct and proximate
 3
     result of being exposed to Roundup, Plaintiff JOHN EDWARD COE developed non-Hodgkin’s
 4
     lymphoma, specifically, indolent B-cell non-Hodgkin’s lymphoma which was diagnosed in or
 5

 6   around March 2019.

 7          8.       “Roundup” refers to all formulations of Defendant’s Roundup products,
 8   including, but not limited to, Roundup Concentrate Poison Ivy and Tough Brush Killer 1,
 9
     Roundup Custom Herbicide, Roundup D-Pak herbicide, Roundup Dry Concentrate, Roundup
10
     Export Herbicide, Roundup Fence & Hard Edger 1, Roundup Garden Foam Weed & Grass Killer,
11
     Roundup Grass and Weed Killer, Roundup Herbicide, Roundup Original 2k herbicide, Roundup
12
     Original II Herbicide, Roundup Pro Concentrate, Roundup Prodry Herbicide, Roundup Promax,
13

14   Roundup Quik Stik Grass and Weed Killer, Roundup Quikpro Herbicide, Roundup Rainfast

15   Concentrate Weed & Grass Killer, Roundup Rainfast Super Concentrate Weed & Grass Killer,

16   Roundup Ready-to-Use Extended Control Weed & Grass Killer 1 Plus Weed Preventer, Roundup
17   Ready-to- Use Weed & Grass Killer, Roundup Ready-to-Use Weed and Grass Killer 2, Roundup
18
     Ultra Dry, Roundup-Ultra Herbicide, Roundup Ultramax, Roundup VM Herbicide, Roundup
19
     Weed & Grass Killer Concentrate, Roundup Weed & Grass Killer Concentrate Plus, Roundup
20
     Weed & Grass killer Ready-to-Use Plus, Roundup Weed & Grass Killer Super Concentrate,
21

22   Roundup Weed & Grass Killer Ready-to-Use, Roundup WSD Water Soluble Dry Herbicide

23   Deploy Dry Herbicide, or any other formulation of containing the active ingredient glyphosate.

24          9.       Defendant       MONSANTO           COMPANY          (“Monsanto”) is a Delaware
25   corporation, with a principle place of business in St. Louis, Missouri. (Missouri Secretary of State
26
                                                                     Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                     110 Prefontaine Place South, Suite 304
      PAGE 3                                                             Seattle, Washington 98104
                                                                              Tel. 206.787.1915
                                                                             Fax. 206.299.9725
               Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 4 of 30




 1
     Charter No. F00488018). Monsanto has transacted and conducted business within Washington
 2
     State and has derived substantial revenue from goods and products used in this State.
 3
            10.       All references to the acts and omissions of Defendant in this Complaint shall
 4
     mean and refer to the actions of Monsanto by contract, the common law, or otherwise.
 5

 6          11.       Defendant advertises and sells goods, specifically Roundup, in the State of

 7   Washington.
 8          12.       Defendant transacted and conducted business that relates to the allegations in this
 9
     Complaint within the State of Washington.
10
            13.       Defendant derived substantial revenue from goods and products used in the State
11
     of Washington.
12
            14.       Defendant expected or should have expected its acts to have consequences within
13

14   the State of Washington, and derived substantial revenue from interstate commerce.

15          15.       Defendant engaged in the business of designing, developing, manufacturing,

16   testing, packaging, marketing, distributing, labeling, and/or selling Roundup.
17
            16.       Upon information and belief, Defendant purposefully availed itself of the
18
     privilege of conducting activities with the State of Washington, thus invoking the benefits and
19
     protections of its laws.
20
            17.       Upon information and belief, Defendant did design, sell, advertise, manufacture
21

22   and/or distribute Roundup, with full knowledge of its dangerous and defective nature.

23                                 V.      FACTUAL ALLEGATIONS

24          18.       At all relevant times, Defendant was in the business of, and did, design, research,
25
     manufacture, test, advertise, promote, market, sell, distribute, and/or have acquired and are
26
                                                                     Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                     110 Prefontaine Place South, Suite 304
      PAGE 4                                                             Seattle, Washington 98104
                                                                              Tel. 206.787.1915
                                                                             Fax. 206.299.9725
               Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 5 of 30




 1
     responsible for the commercial herbicide Roundup.
 2
             19.     Monsanto is a multinational agricultural biotechnology corporation based in St.
 3
     Louis, Missouri. It is the world’s leading producer of glyphosate.
 4
             20.     Monsanto discovered the herbicidal properties of glyphosate during the 1970’s
 5

 6   and subsequently began to design, research, manufacture, sell and distribute glyphosate based

 7   “Roundup” as a broad spectrum herbicide.
 8           21.     Glyphosate is the active ingredient in Roundup.
 9
             22.     Glyphosate is a broad spectrum herbicide used to kill weeds and grasses known
10
     to compete with commercial crops grown around the globe.
11
             23.     Glyphosate is a “non selective” herbicide, meaning it kills indiscriminately based
12
     only on whether a given organism produces a specific enzyme, 5-enolpyruvylshikimic acid-3-
13

14   phosphate synthase, known as EPSP synthase.

15           24.     Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-phosphate

16   synthase that interferes with the shikimic pathway in plants, resulting in the accumulation of
17
     shikimic acid in plant tissue and ultimately plant death.
18
             25.     Sprayed as a liquid, plants absorb glyphosate directly through their leaves, stems,
19
     and roots, and detectable quantities accumulate in the plant tissues.
20
             26.     Each year, approximately 250 million pounds of glyphosate are sprayed on crops,
21

22   commercial nurseries, suburban lawns, parks, and golf courses. This increase in use has been

23   driven largely by the proliferation of genetically engineered crops, crops specifically tailored to

24   resist the activity of glyphosate.
25
             27.     Defendant is intimately involved in the development, design, manufacture,
26
                                                                     Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                     110 Prefontaine Place South, Suite 304
      PAGE 5                                                             Seattle, Washington 98104
                                                                              Tel. 206.787.1915
                                                                             Fax. 206.299.9725
                  Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 6 of 30




 1
     marketing, sale, and/or distribution of genetically modified (“GMO”) crops, many of which are
 2
     marketed as being resistant to Roundup i.e., “Roundup Ready®.” As of 2009, Monsanto was the
 3
     world’s leading producer of seeds designed to be Roundup Ready®. In 2010, an estimated 70%
 4
     of corn and cotton, and 90% of soybean fields in the United States contained Roundup Ready®
 5

 6   seeds.

 7              28.      The original Roundup, containing the active ingredient glyphosate, was
 8   introduced in 1974. Today, glyphosate products are among the world’s most widely used
 9
     herbicides.1
10
                29.      For nearly 40 years, consumers, farmers, and the public have used Roundup,
11
     unaware of its carcinogenic properties.
12
                 VI.      REGISTRATION OF HERBICIDES UNDER FEDERAL LAW
13

14              30.      The manufacture, formulation and distribution of herbicides, such as Roundup,

15   are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C.

16   § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental Protection
17
     Agency (“EPA) prior to their distribution, sale, or use, except as described by FIFRA 7 U.S.C.
18
     136a(a).
19
                31.      The EPA requires as part of the registration process, among other requirements,
20
     a variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other
21

22   potential nontarget organisms, and other adverse effects on the environment. Registration by the

23   EPA, however, is not an assurance or finding of safety. The determination the EPA makes in

24   registering or reregistering a product is not that the product is “safe,” but rather that use of the
25

26
     1
         Backgrounder, History of Monsanto’s Glyphosate Herbicides, June 2005.
                                                                             Corrie Yackulic Law Firm PLLC
27       COMPLAINT                                                          110 Prefontaine Place South, Suite 304
         PAGE 6                                                                  Seattle, Washington 98104
                                                                                      Tel. 206.787.1915
                                                                                     Fax. 206.299.9725
               Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 7 of 30




 1
     product in accordance with its label directions “will not generally cause unreasonable adverse
 2
     effects on the environment.” 7 U.S.C. § 136(a)(c)(5)(D).
 3
            32.      FIFRA defines “unreasonable adverse effects on the environment” to mean “any
 4
     unreasonable risk to man or the environment, taking into account the economic, social, and
 5

 6   environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

 7   requires the EPA to make a risk/benefit analysis in determining whether a registration should be
 8   granted or allowed to continue to be sold in commerce.
 9
            33.      The EPA and the State of Washington registered Roundup for distribution, sale,
10
     and manufacture in the United States, including the State of Washington.
11
            34.      FIFRA generally requires that the registrant, Monsanto, conduct health and safety
12
     testing of pesticide products. The government is not required, nor is it able, to perform the product
13

14   tests that are required of the manufacturer.

15          35.      The evaluation of each pesticide product distributed, sold, or manufactured is

16   completed at the time the product is initially registered. The data necessary for registration of a
17
     pesticide has changed over time. The EPA is now in the process of reevaluating all pesticide
18
     products through a Congressionally mandated process called “reregistration.” 7 U.S.C. § 136a-
19
     1. In order to reevaluate these pesticides, the EPA demands the completion of additional tests
20
     and the submission of data for the EPA’s review and evaluation.
21

22          36.      In the case of glyphosate and Roundup, the EPA had planned on releasing its

23   preliminary risk assessment in relation to the registration process no later than July 2015. The

24   EPA completed its review of glyphosate in early 2015 but delayed releasing the assessment
25   pending further review in light of the World Health Organization’s March 24, 2015 finding that
26
                                                                      Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                      110 Prefontaine Place South, Suite 304
      PAGE 7                                                              Seattle, Washington 98104
                                                                               Tel. 206.787.1915
                                                                              Fax. 206.299.9725
                 Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 8 of 30




 1
     glyphosate is a “probable carcinogen” as demonstrated by the mechanistic evidence of
 2
     carcinogenicity in humans and sufficient evidence of carcinogenicity in animals.
 3
                 VII.     MONSANTO’S FALSE REPRESENTATIONS REGARDING
 4                                THE SAFETY OF ROUNDUP
 5
            37.         In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against
 6
     Monsanto based on its false and misleading advertising of Roundup products. Specifically, the
 7
     lawsuit challenged Monsanto’s general representations that its spray on glyphosate-based
 8

 9   herbicides, including Roundup, were “safer than table salt” and “practically non-toxic” to

10   mammals, birds, and fish. Among the representations, the NYAG found deceptive and

11   misleading about the human and environmental safety of Roundup are the following:
12          a)          Remember that environmentally friendly Roundup herbicide is
13                      biodegradable. It won’t build up in the soil so you can use
                        Roundup with confidence along customers’ driveways,
14                      sidewalks and fences.
            b)          And remember that Roundup is biodegradable and won’t build
15                      up in the soil. That will give you the environmental confidence
                        you need to use Roundup everywhere you’ve got a weed, brush,
16
                        edging or trimming problem.
17          c)          Roundup biodegrades into naturally occurring elements.
            d)          Remember that versatile Roundup herbicide stays where you put
18                      it. That means there’s no washing or leaching to harm customers’
                        shrubs or other desirable vegetation.
19          e)          This nonresidual herbicide will not wash or leach in the soil. It...
                        stays where you apply it.
20
            f)          You can apply Accord with “confidence because it will stay
21                      where you put it” it bonds tightly to soil particles, preventing
                        leaching. Then, soon after application, soil microorganisms
22                      biodegrade Accord into natural products.
            g)          Glyphosate is less toxic to rats than table salt following acute oral
23                      ingestion.
24          h)          Glyphosate’s safety margin is much greater than required. It has
                        over a 1,000 fold safety margin in food and over a 700 fold safety
25                      margin for workers who manufacture it or use it.
            i)          You can feel good about using herbicides by Monsanto. They
26
                                                                        Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                        110 Prefontaine Place South, Suite 304
      PAGE 8                                                                Seattle, Washington 98104
                                                                                 Tel. 206.787.1915
                                                                                Fax. 206.299.9725
                  Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 9 of 30




 1
                     carry a toxicity category rating of ‘practically non-toxic’ as it
 2                   pertains to mammals, birds and fish.
             j)      “Roundup can be used where kids and pets will play and breaks
 3                   down into natural material.” This ad depicts a person with his
                     head in the ground and a pet dog standing in an area which has
 4                   been treated with Roundup.2
 5
             38.      On November 19, 1996, Monsanto entered an Assurance of Discontinuance with
 6
     NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing or
 7
     broadcasting any advertisements [in New York] that represent, directly or by implication” that:
 8

 9           a)      its glyphosate containing pesticide products or any component
                     thereof are safe, non-toxic, harmless or free from risk;
10           b)      its glyphosate-containing pesticide products or any component
                     thereof manufactured, formulated, distributed or sold by
11                   Monsanto are biodegradable;
             c)      its glyphosate-containing pesticide products or any component
12
                     thereof stay where they are applied under all circumstances and
13                   will not move through the environment by any means;
             d)      its glyphosate-containing pesticide products or any component
14                   thereof are “good” for the environment or are “known for their
                     environmental characteristics;”
15           e)      glyphosate-containing pesticide products or any component
                     thereof are safer or less toxic than common consumer products
16
                     other than herbicides; and
17           f)      its glyphosate-containing products or any component thereof
                     might be classified as “practically non-toxic”.
18
             39.      Monsanto did not alter its advertising in the same manner in any state other than
19

20   New York, and on information and belief still has not done so as of today.

21           40.      In 2009, France’s highest court ruled that Monsanto had not told the truth about

22   the safety of Roundup. The French court affirmed an earlier judgment that Monsanto had falsely
23

24

25   2
      Attorney General of the State of New York, In the Matter of Monsanto Company, Assurance of Discontinuance
26   Pursuant to Executive Law § 63 (15) (Nov. 1996).
                                                                          Corrie Yackulic Law Firm PLLC
27       COMPLAINT                                                       110 Prefontaine Place South, Suite 304
         PAGE 9                                                               Seattle, Washington 98104
                                                                                   Tel. 206.787.1915
                                                                                  Fax. 206.299.9725
                  Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 10 of 30




 1
     advertised its herbicide Roundup as “biodegradable” and that it “left the soil clean.”3
 2
                       VIII. EVIDENCE OF CARCINOGENICITY IN ROUNDUP
 3
                41.      As early as the 1980’s Monsanto was aware of glyphosate’s carcinogenic
 4
     properties.
 5

 6              42.      On March 4, 1985, a group of the EPA’s Toxicology Branch published a

 7   memorandum classifying glyphosate as a Category C oncogene.4
 8              43.      Category C oncogenes are possible human carcinogens with limited evidence of
 9
     carcinogenicity.
10
                44.      In 1986, the EPA issued a Registration Standard for glyphosate (NTIS PB87-
11
     103214). The Registration standard required additional phytotoxicity, environmental fate,
12
     toxicology, product chemistry, and residue chemistry studies. All of the data required was
13

14   submitted and reviewed and/or waived.5

15              45.      In October 1991, the EPA published a Memorandum entitled “Second Peer
16   Review of Glyphosate.” The memorandum changed glyphosate’s classification to Group E
17
     (evidence of non-carcinogenicity for humans). Two peer review committee members did not
18
     concur with the conclusions of the committee and one member refused to sign.6
19
                46.      In addition to the toxicity of the active molecule, many studies support the
20

21

22   3
      Monsanto Guilty in “False Ad” Row, BBC, Oct 15, 2009, available at
     http://news.bbc.co.uk/2/hi/europe/8308903.stm
23   4
      Consensus Review of Glyphosate, Casewell No. 661A, March 4, 1985. United States Environmental Protection
24   Agency.
     5
         http://www.epa.gov/oppsrrd1/reregistration/REDs/factsheet/0178fact.pdf
25   6
      Second Peer Review of Glyphosate, CAS No. 1071-83-6. October 30, 1881, United State Environmental
26   Protection Agency.
                                                                              Corrie Yackulic Law Firm PLLC
27       COMPLAINT                                                           110 Prefontaine Place South, Suite 304
         PAGE 10                                                                  Seattle, Washington 98104
                                                                                       Tel. 206.787.1915
                                                                                      Fax. 206.299.9725
                  Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 11 of 30




 1
     hypothesis that glyphosate formulations found in Defendant’s Roundup products are more
 2
     dangerous and toxic than glyphosate alone.7 As early as 1991 evidence existed demonstrating
 3
     that glyphosate formulations were significantly more toxic than glyphosate alone.8
 4
                47.       In 2002, Julie Marc published a study entitled “Pesticide Roundup Provokes Cell
 5

 6   Division Dysfunction at the Level of CDKl/Cyclin B Activation.”

 7              48.       The study found that Monsanto’s Roundup caused delays in the cell cycles of sea
 8   urchins, while the same concentrations of glyphosate alone proved ineffective and did not alter
 9
     cell cycles.
10
                49.       In 2004, Julie Marc published a study entitled “Glyphosate-based pesticides
11
     affect cell cycle regulation.” The study demonstrated a molecular link between glyphosate-based
12
     products and cell cycle dysregulation.
13

14              50.       The study noted that “cell-cycle dysregulation is a hallmark of tumor cells and

15   human cancer. Failure in the cell-cycle checkpoints leads to genomic instability and subsequent

16   development of cancers from the initial affected cell.” Further, “[s]ince cell cycle disorders such
17
     as cancer result from dysfunction of unique cell, it was of interest to evaluate the threshold dose
18
     of glyphosate affecting cells.”9
19
                51.       In 2005, Francisco Peixoto published a study showing that Roundup’s effects on
20
     rat liver mitochondria are much more toxic and harmful than the same concentrations of
21

22   glyphosate alone.

23

24   7
         Martinez et al. 2007; Benachour 2009; Gasnier et al. 2010; Pexoto 2005; Marc 2004
25   8
         Martinez et al. 1991.
     9
26       Molinari, 2000; Stewart et al., 2003).
                                                                               Corrie Yackulic Law Firm PLLC
27       COMPLAINT                                                            110 Prefontaine Place South, Suite 304
         PAGE 11                                                                   Seattle, Washington 98104
                                                                                        Tel. 206.787.1915
                                                                                       Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 12 of 30




 1
            52.     The Peixoto study suggested that the harmful effects of Roundup on
 2
     mitochondrial bioenergetics could not be exclusively attributed to glyphosate and could be the
 3
     result of other chemicals, namely the surfactant POEA, or alternatively due to the possible
 4
     synergy between glyphosate and Roundup formulation products.
 5

 6          53.     In 2009, Nora Benachour and Gilles-Eric Seralini published a study examining

 7   the effects of Roundup and glyphosate on human umbilical, embryonic, and placental cells.
 8          54.     The study used dilution levels of Roundup and glyphosate far below agricultural
 9
     recommendations, corresponding with low levels of residues in food. The study concluded that
10
     supposed “inert” ingredients, and possibly POEA, change human cell permeability and amplify
11
     toxicity of glyphosate alone. The study further suggested that determinations of glyphosate
12
     toxicity should take into account the presence of adjuvants, or those chemicals used in the
13

14   formulation of the complete pesticide. The study confirmed that the adjuvants in Roundup are

15   not inert and that Roundup is always more toxic than its active ingredient glyphosate.

16          55.     The results of these studies were confirmed in recently published peer-reviewed
17
     studies and were at all times available and/or known to Defendant.
18
            56.     Defendant knew or should have known that Roundup is more toxic than
19
     glyphosate alone and that safety studies on Roundup, Roundup’s adjuvants and “inert”
20
     ingredients, and/or the surfactant POEA were necessary to protect Plaintiffs JOHN EDWARD
21

22   COE and HEATHER NICOLE COE from Roundup.

23          57.     Defendant knew or should have known that tests, limited to Roundup’s active

24   ingredient glyphosate, were insufficient to prove the safety of Roundup.
25          58.     Defendant failed to appropriately and adequately test Roundup, Roundup’s
26
                                                                   Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                   110 Prefontaine Place South, Suite 304
      PAGE 12                                                          Seattle, Washington 98104
                                                                            Tel. 206.787.1915
                                                                           Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 13 of 30




 1
     adjuvants and “inert” ingredients, and/or the surfactant POEA to protect Plaintiff from Roundup.
 2
            59.       Rather than performing appropriate tests, Defendant relied upon flawed industry-
 3
     supported studies designed to protect Defendant’s economic interests rather than Plaintiffs JOHN
 4
     EDWARD COE and HEATHER NICOLE COE and the consuming public.
 5

 6          60.       Despite its knowledge that Roundup was considerably more dangerous than

 7   glyphosate alone, Defendant continued to promote Roundup as safe.
 8                      IX.     IARC CLASSIFICATION OF GLYPHOSATE
 9
            61.       The International Agency for Research on Cancer (“IARC”) is the specialized
10
     intergovernmental cancer agency tasked by the World Health Organization (“WHO”) with
11
     conducting and coordinating research into the causes of cancer.
12
            62.       An IARC Advisory Group to Recommend Priorities for IARC Monographs
13

14   during 2015-2019 met in April 2014. Though nominations for the review were solicited, a

15   substance must meet two criteria to be eligible for review by the IARC Monographs: there must

16   already be some evidence of carcinogenicity of the substance, and there must be evidence that
17
     humans are exposed to the substance.
18
            63.       IARC set glyphosate for review in 2015-2016. IARC uses five criteria for
19
     determining priority in reviewing chemicals. The substance must have a potential for direct
20
     impact on public health; scientific literature to support suspicion of carcinogenicity; evidence of
21

22   significant human exposure; high public interest and/or potential to bring clarity to a controversial

23   area and/or reduce public anxiety or concern; related agents similar to one given high priority by

24   the above considerations. Data reviewed is sourced preferably from publicly accessible, peer-
25   reviewed data.
26
                                                                      Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                      110 Prefontaine Place South, Suite 304
      PAGE 13                                                             Seattle, Washington 98104
                                                                               Tel. 206.787.1915
                                                                              Fax. 206.299.9725
                Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 14 of 30




 1
            64.        On March 24, 2015, after its cumulative review of human, animal, and DNA
 2
     studies for more than one (1) year, many of which have been in Defendant’s possession since as
 3
     early as 1985, the IARC’s working group published its conclusion that the glyphosate contained
 4
     in Defendant’s Roundup herbicide, is a Class 2A “probable carcinogen” as demonstrated by the
 5

 6   mechanistic evidence of carcinogenicity in humans and sufficient evidence of carcinogenicity in

 7   animals.

 8          65.        The IARC’s full Monograph was published on July 29, 2015 and established
 9
     glyphosate as a class 2A probable carcinogen to humans. According to the authors glyphosate
10
     demonstrated sufficient mechanistic evidence (genotoxicity and oxidative stress) to warrant a 2A
11
     classification based on evidence of carcinogenicity in humans and animals.
12
            66.        The IARC Working Group found an increased risk between exposure to
13

14   glyphosate and non-Hodgkin’s lymphoma (‘‘NHL”) and several subtypes of NHL, and the

15   increased risk continued after adjustment for other pesticides.

16          67.        The IARC also found that glyphosate caused DNA and chromosomal damage
17
     in human cells.
18
                  X.       EARLIER EVIDENCE OF GLYPHOSATE’S DANGER
19
            68.        Despite the new classification by the IARC, Defendant has had ample evidence
20
     of glyphosate and Roundup’s genotoxic properties for decades.
21

22          69.        Genotoxicity refers to chemical agents that are capable of damaging the DNA

23   within a cell through genetic mutations, which is a process that is believed to lead to cancer.

24          70.        In 1997, Chris Clements published “Genotoxicity of select herbicides in Rana
25
     catesbeiana tadpoles using the alkaline single-cell gel DNA electrophoresis (comet) assay.”
26
                                                                     Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                     110 Prefontaine Place South, Suite 304
      PAGE 14                                                            Seattle, Washington 98104
                                                                              Tel. 206.787.1915
                                                                             Fax. 206.299.9725
                Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 15 of 30




 1
            71.     The study found that tadpoles exposed to Roundup showed significant DNA
 2
     damage when compared with unexposed control animals.
 3
            72.     Both human and animal studies have shown that glyphosate and glyphosate-based
 4
     formulations such as Roundup can induce oxidative stress.
 5

 6          73.     Oxidative stress and associated chronic inflammation are believed to be involved

 7   in carcinogenesis.
 8          74.     The IARC Monograph notes that”[s]trong evidence exists that glyphosate,
 9
     AMPA and glyphosate-based formulations can induce oxidative stress.”
10
            75.     In 2006 Cesar Paz-y-Mifio published a study examining DNA damage in human
11
     subjects exposed to glyphosate.
12
            76.     The study produced evidence of chromosomal damage in blood cells showing
13

14   significantly greater damage after exposure to glyphosate than before in the same individuals,

15   suggesting that the glyphosate formulation used during aerial spraying had a genotoxic effect on

16   exposed individuals.
17
            77.     The IARC Monograph reflects the volume of evidence of glyphosate pesticides’,
18
     genotoxicity noting “[t]he evidence for genotoxicity caused by glyphosate-based formulations is
19
     strong.”
20
            78.     Despite knowledge to the contrary, Defendant maintains that there is no evidence
21

22   that Roundup is genotoxic, that regulatory authorities and independent experts agree that

23   Roundup is not genotoxic, and that there is no evidence that Roundup is genotoxic.

24          79.     In addition to glyphosate and Roundup’s genotoxic properties, Defendant has
25
     long been aware of glyphosate’s carcinogenic properties.
26
                                                                   Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                   110 Prefontaine Place South, Suite 304
      PAGE 15                                                          Seattle, Washington 98104
                                                                            Tel. 206.787.1915
                                                                           Fax. 206.299.9725
                Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 16 of 30




 1
            80.     Glyphosate and Roundup in particular, have long been associated with
 2
     carcinogenicity and the development of numerous forms of cancer, including, but not limited to,
 3
     non-Hodgkin’s lymphoma (“NHL”), Hodgkin’s lymphoma, multiple myeloma, and soft tissue
 4
     sarcoma.
 5

 6          81.     Defendant has known of this association since the early to mid-1980s and

 7   numerous human and animal studies have evidenced the carcinogenicity of glyphosate and/or
 8   Roundup.
 9
            82.     In 1985, the EPA studied the effects of glyphosate in mice finding a dose related
10
     response in male mice linked to renal tubal adenomas, a rare tumor. The study concluded the
11
     glyphosate was oncogenic.
12
            83.     In 2003, Lennart Hardell and Mikael Eriksson published the results of two case-
13

14   controlled studies on pesticides as a risk factor for NHL and hairy cell leukemia.

15          84.     The study concluded that glyphosate had the most significant relationship to NHL

16   among all herbicides studies with an increased odds ratio of 3.11.
17
            85.     In 2003, AJ De Roos published a study examining the pooled data of mid-western
18
     farmers, examining pesticides and herbicides as risk factors for NHL.
19
            86.     The study, which controlled for potential confounders, found a relationship
20
     between increased NHL incidence and glyphosate.
21

22          87.     In 2008, Mikael Eriksson published a population-based case-control study of

23   exposure to various pesticides as a risk factor for NHL.

24          88.     This strengthened previous associations between glyphosate and NHL.
25
            89.     In spite of this knowledge, Defendant continued to issue broad and sweeping
26
                                                                    Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                    110 Prefontaine Place South, Suite 304
      PAGE 16                                                           Seattle, Washington 98104
                                                                             Tel. 206.787.1915
                                                                            Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 17 of 30




 1
     statements that Roundup was, and is, safer than ordinary household items such as table salt,
 2
     despite a lack of scientific support for the accuracy and validity of these statements and, in fact,
 3
     voluminous evidence to the contrary.
 4
            90.      Upon information and belief, these statements and representations have been
 5

 6   made with the intent of inducing Plaintiffs, the agricultural community, and the public at large to

 7   purchase and increase the use of Defendant’s Roundup for Defendant’s pecuniary gain, and in
 8   fact, did induce Plaintiff JOHN EDWARD COE to use Roundup.
 9
            91.      Defendant made these statements maliciously and with complete disregard and
10
     reckless indifference to the safety of Plaintiff JOHN EDWARD COE and the general public.
11
            92.      Notwithstanding Defendant’s representations, scientific evidence has established
12
     a clear association between glyphosate and genotoxicity, inflammation, and an increased risk of
13

14   many cancers, including, but not limited to, NHL, Multiple Myeloma, and soft tissue sarcoma.

15          93.      Defendant knew or should have known that glyphosate is associated with an

16   increased risk of developing cancer, including, but not limited to, NHL, Multiple Myeloma, and
17
     soft tissue sarcomas.
18
            94.      Defendant failed to appropriately and adequately inform and warn Plaintiffs of
19
     these dangerous risks associated with the use of and exposure to glyphosate and/or Roundup,
20
     including, but not limited to, the risk of developing NHL, as well as other severe and personal
21

22   injuries, which are permanent and/or long-lasting in nature, cause significant physical pain and

23   mental anguish, diminished enjoyment of life, and the need for medical treatment, monitoring

24   and/or medications.
25          95.      Despite the IARC’s classification of glyphosate as a class 2A probable
26
                                                                     Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                     110 Prefontaine Place South, Suite 304
      PAGE 17                                                            Seattle, Washington 98104
                                                                              Tel. 206.787.1915
                                                                             Fax. 206.299.9725
               Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 18 of 30




 1
     carcinogen, Defendant continues to maintain that glyphosate and/or Roundup is safe, non-
 2
     carcinogenic, non- genotoxic; and falsely warrant to users and the general public that independent
 3
     experts and regulatory agencies agree that there is no evidence of carcinogenicity or genotoxicity
 4
     in glyphosate and Roundup.
 5

 6           96.         Defendant claimed and continues to claim that Roundup is safe, non-

 7   carcinogenic, and non-genotoxic. These misrepresentations are consistent with Defendant’s
 8   cavalier approach to investigating and ensuring the safety of its products, the safety of the public
 9
     at large, and the safety of Plaintiffs.
10
             97.         In 2019 a meta-analysis published in Mutation Research pooled the data from six
11
     different studies and found “a compelling link between exposures to GBHs and increased risk for
12
     NHL.” L. Zhang, et al., “Exposure to Glyphosate-Based Herbicides and Risk for Non-Hodgkin
13

14   Lymphoma: A Meta-Analysis and Supporting Evidence” Mutation Research (2019).

15                 XI.      SCIENTIFIC FRAUD UNDERLYING CERTAIN SAFETY
                                DETERMINATIONS OF GLYPHOSATE
16

17           98.         After the EPA’s 1985 classification of glyphosate as possibly carcinogenic to

18   humans (Group C), Monsanto exerted pressure upon the EPA to change its classification.

19           99.         This culminated in the EPA’s reclassification of glyphosate to Group E, which
20   was based upon evidence of non-carcinogenicity in humans.
21
             100.        In so classifying, the EPA stated that “[i]t should be emphasized, however, that
22
     designation of an agent in Group E is based on the available evidence at the time of evaluation
23
     and should not be interpreted as a definitive conclusion that the agent will not be a carcinogen
24

25   under any circumstances.”

26           101.        On two occasions, the EPA found that laboratories hired by Monsanto to test the
                                                                       Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                       110 Prefontaine Place South, Suite 304
      PAGE 18                                                              Seattle, Washington 98104
                                                                                Tel. 206.787.1915
                                                                               Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 19 of 30




 1
     toxicity of its Roundup products for registration purposes committed scientific fraud.
 2
            102.     In the first instance, Monsanto hired Industrial Bio-Test Laboratories (“IBT”) to
 3
     perform and evaluate pesticide toxicology studies relating to Roundup. IBT performed
 4
     approximately 30 tests on glyphosate and glyphosate-containing products, including 11 of the 19
 5

 6   chronic toxicology studies needed to register Roundup with the EPA.

 7          103.     In 1976, the Food and Drug Administration (‘‘FDA”) performed an inspection of
 8   IBT and discovered discrepancies between the raw data and the final report relating to
 9
     toxicological impacts of glyphosate. The EPA subsequently audited IBT and determined that the
10
     toxicology studies conducted for Roundup were invalid. An EPA reviewer stated, after finding
11
     “routine falsification of data” at IBT, that it was “hard to believe the scientific integrity of the
12
     studies when they said they took specimens of the uterus from male rabbits.”
13

14          104.     Three top executives of IBT were convicted of fraud in 1983.

15          105.     In the second incident, Monsanto hired Craven Laboratories (“Craven”) in 1990

16   to perform pesticide and herbicide studies, including several studies on Roundup.
17
            106.     In March of 1991, the EPA announced that it was investigating Craven for
18
     “allegedly falsifying test data used by chemical firms to win EPA approval of pesticides.”
19
            107.     The investigation lead to the indictments of the laboratory owner and a handful
20
     of employees.
21

22        XII.     MONSANTO’S CONTINUING DISREGARD FOR THE SAFETY OF
                               PLAINTIFF AND THE PUBLIC
23
            108.     Monsanto claims on its website that “[r]egulatory authorities and independent
24
     experts around the world have reviewed numerous long term/carcinogenicity and genotoxicity
25

26   studies and agree that there is no evidence that glyphosate, the active ingredient in Roundup brand
                                                                     Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                     110 Prefontaine Place South, Suite 304
      PAGE 19                                                            Seattle, Washington 98104
                                                                              Tel. 206.787.1915
                                                                             Fax. 206.299.9725
               Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 20 of 30




 1
     herbicides and other glyphosate based herbicides, causes cancer, even at very high doses, and
 2
     that it is not genotoxic.”10
 3
             109.    Ironically, the primary source for this statement is a 1986 report by the WHO, the
 4
     same organization that now considers glyphosate to be a probable carcinogen.
 5

 6           110.    Glyphosate, and Defendant’s Roundup products in particular, has long been

 7   associated with serious side effects and many regulatory agencies around the globe have banned
 8   or are currently banning the use of glyphosate herbicide products.
 9
             111.    Defendant’s statements proclaiming the safety of Roundup and disregarding its
10
     dangers misled Plaintiff JOHN EDWARD COE.
11
             112.    Despite Defendant’s knowledge that Roundup was associated with an elevated
12
     risk of developing cancer, Defendant’s promotional campaigns focused on Roundup’s purported
13

14   “safety profile.”

15           113.    Defendant’s failure to adequately warn Plaintiff JOHN EDWARD COE resulted

16   in (1) Plaintiff using and being exposed to glyphosate and Roundup instead of using another
17
     acceptable and safe method of controlling unwanted weeds and pests; and (2) scientists and
18
     physicians failing to warn and instruct consumers about the risk of cancer, including NHL, and
19
     other injuries associated with Roundup.
20
             114.    Defendant failed to seek modification of the labeling of Roundup to include
21

22   relevant information regarding the risks and dangers associated with Roundup exposure.

23           115.    The failure of Defendant to appropriately warn and inform the EPA has resulted

24

25   10
       Backgrounder-Glyphosate: No Evidence of Carcinogenicity. Updated November 2014. (downloaded October 9
26   2015).
                                                                        Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                        110 Prefontaine Place South, Suite 304
      PAGE 20                                                               Seattle, Washington 98104
                                                                                 Tel. 206.787.1915
                                                                                Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 21 of 30




 1
     in inadequate warnings in safety information presented directly to users and consumers.
 2
            116.    The failure of Defendant to appropriately warn and inform the EPA has resulted
 3
     in the absence of warning or caution statements that are adequate to protect health and the
 4
     environment.
 5

 6          117.    The failure of Defendant to appropriately warn and inform the EPA has resulted

 7   in the directions for use that are not adequate to protect health and the environment.
 8          118.    By reason of the foregoing acts and omissions, Plaintiffs JOHN EDWARD COE
 9
     and HEATHER NICOLE COE seek compensatory and punitive damages as a result of Plaintiff
10
     JOHN EDWARD COE’s use of, and exposure to, Roundup which caused or was a substantial
11
     contributing factor in causing Plaintiff to suffer from cancer, specifically NHL, and Plaintiffs
12
     suffered severe and personal injuries which are permanent and lasting in nature, physical pain
13

14   and mental anguish, including diminished enjoyment of life and loss of consortium.

15          119.    By reason of the foregoing acts and omissions, Plaintiffs have sustained severe

16   and permanent injuries and losses.
17
            120.    By reason of the foregoing acts and omissions, Plaintiffs have endured and, in
18
     some categories, continue to suffer emotional and mental anguish, medical expenses, and other
19
     economic and non-economic damages as a result of the actions and inactions of the Defendant.
20
                         XIII. PLAINTIFF’S EXPOSURE TO ROUNDUP
21

22          121.    Plaintiff JOHN EDWARD COE started to use Roundup regularly in July, 1994

23   while employed on a farm. Plaintiff JOHN EDWARD COE was in charge of mixing the

24   concentrate and applying the Roundup up to six days per month during his employment. Plaintiff
25
     JOHN EDWARD COE continued to work on the farm until August, 1998. Plaintiff JOHN
26
                                                                    Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                    110 Prefontaine Place South, Suite 304
      PAGE 21                                                           Seattle, Washington 98104
                                                                             Tel. 206.787.1915
                                                                            Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 22 of 30




 1
     EDWARD COE resumed using Roundup in or around May, 2000 for approximately 18 years on
 2
     his personal residential property.      Plaintiff JOHN EDWARD COE would use Roundup
 3
     approximately once per month for weed control during spring, summer and fall.
 4
            122.     For years, Plaintiff JOHN EDWARD COE applied Roundup on a regular basis.
 5

 6   Plaintiff followed all safety and precautionary warnings during the course of his use.

 7          123.     Plaintiff JOHN EDWARD COE was diagnosed with non-Hodgkin’s lymphoma,
 8   specifically indolent B-cell non-Hodgkin’s Lymphoma in March, 2019.                     Plaintiff’s non-
 9
     Hodgkin’s Lymphoma was proximately and actually caused by his exposure to Defendant’s
10
     Roundup products.
11
            124.     As a result of his illness, Plaintiff JOHN EDWARD COE has incurred significant
12
     economic and non-economic damages and Plaintiff HEATHER NICOLE COE suffered loss of
13

14   consortium.

15                              XIV. FIRST CAUSE OF ACTION
                               WASHINGTON PRODUCT LIABILITY ACT
16
            125.     Plaintiffs incorporate by reference all prior paragraphs of this Complaint as if
17

18   fully set forth herein and further alleges as follows:

19          126.     At all times relevant to this litigation, Defendant engaged in the business of

20   testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting
21
     Roundup products.
22
            127.     At all times relevant to this litigation, Defendant designed, researched,
23
     developed, manufactured, produced, tested, assembled, labeled, advertised, promoted, marketed,
24
     sold, and distributed the Roundup products used by Plaintiffs as described above.
25

26          128.     At all times relevant to this litigation, Defendant’s Roundup products were
                                                                    Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                    110 Prefontaine Place South, Suite 304
      PAGE 22                                                           Seattle, Washington 98104
                                                                             Tel. 206.787.1915
                                                                            Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 23 of 30




 1
     expected to reach and did reach the intended consumers, handlers, and users or other persons
 2
     coming into contact with these products in Washington and throughout the United States,
 3
     including Plaintiffs, without substantial change in their condition as designed, manufactured,
 4
     sold, distributed, labeled, and marketed by Defendant.
 5

 6          129.     In violation of the Washington Products Liability Act (“WPLA”), RCW 7.72, et

 7   seq., at all times relevant to this action, at the time Defendant’s Roundup products left control of
 8   Defendant, they were defective and not reasonably safe. These defects include, but are not limited
 9
     to, the following:
10
            a)      Defendant is strictly liable for Plaintiffs’ injuries and damages
11                  because at the time of manufacture, and at the time Defendant’s
                    Roundup products left control of Defendant, the likelihood that
12                  Defendant’s Roundup products would cause injury or damage
                    similar to that suffered by Plaintiffs, and the seriousness of such
13
                    injury or damage had been known by Defendant and outweighed
14                  the burden on Defendant to design a product that would have
                    prevented Plaintiffs’ injuries and damages and outweighed the
15                  adverse effect that an alternative design that was practical and
                    feasible would have on the usefulness of the subject product.
16          b)      Defendant’s Roundup products were unsafe to an extent beyond
17                  that which would be contemplated by an ordinary consumer, in
                    one or more of the following particulars: exposure to Roundup
18                  and specifically, its active ingredient glyphosate, could result in
                    cancer and other severe illnesses and injuries, making Roundup
19                  not reasonably safe when used in the way it is ordinarily used
                    and is dangerous to an extent beyond that which would be
20                  contemplated by the ordinary consumer.
21          c)      The Roundup products manufactured and/or supplied by
                    Defendant were defective in design in that, an alternative design
22                  and/or formulation exists that would prevent severe and
                    permanent injury. Indeed, at the time that Defendant designed the
23                  Roundup products, the state of the industry’s scientific
                    knowledge was such that a less risky design or formulation was
24                  attainable.
25          d)      The Roundup products were not reasonably safe in design under
                    the WPLA.
26          e)      The Roundup products manufactured and/or supplied by
                                                                     Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                     110 Prefontaine Place South, Suite 304
      PAGE 23                                                            Seattle, Washington 98104
                                                                              Tel. 206.787.1915
                                                                             Fax. 206.299.9725
                 Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 24 of 30




 1
                     Defendant were not reasonably safe because Defendant did not
 2                   provide an adequate warning or instruction about the product. At
                     the time the Roundup products left Defendant’s control, they
 3                   possessed dangerous characteristics and Defendant failed to use
                     reasonable care to provide an adequate warning of such
 4                   characteristics and their danger to users and handlers of the
 5                   product. The Roundup products are not safe and cause severe
                     and permanent injuries. The Roundup products were not
 6                   reasonably safe because the warning was inadequate, and
                     Defendant could have provided adequate warnings or
 7                   instructions.
            f)       The Roundup products manufactured and/or supplied by
 8                   Defendant were not reasonably safe because adequate warnings
 9                   or manufacturer instructions were not provided after the
                     Roundup products were manufactured and when Defendant
10                   learned of, or should have learned of, the dangers connected with
                     the Roundup products.
11          g)       The Roundup products manufactured and/or supplied by
                     Defendant was not reasonably safe because they did not conform
12                   to an express warranty made by Defendant regarding the
13                   product’s safety and fitness for use. Defendant expressly
                     warranted that the Roundup products were safe and fit for their
14                   intended purposes, that they were of merchantable quality, that
                     they did not produce any dangerous side effects, that they were
15                   adequately tested, and that their Roundup products were safe to
                     human health and the environment, and effective, fit, and proper
16
                     for their intended use. Defendant did not disclose the material
17                   risks that Defendant’s Roundup products could cause severe and
                     permanent injury. Defendant’s express warranty regarding the
18                   Roundup products induced Plaintiffs to use the products, and
                     Plaintiffs’ damages were proximately caused because
19                   Defendant’s express warranty was untrue. The Roundup
                     products were not reasonably safe because of nonconformity to
20
                     express warranty under the WPLA.
21
            130.      As a direct and proximate result of Defendant placing its defective Roundup
22
     products into the stream of commerce, Plaintiffs JOHN EDWARD COE and HEATHER
23
     NICOLE COE suffered grave injuries, and endured physical and emotional pain and discomfort,
24

25   and loss of consortium, as well as economic hardship, including considerable financial expenses

26   for medical care and treatment, along with other damages further discussed in herein.
                                                                  Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                  110 Prefontaine Place South, Suite 304
      PAGE 24                                                         Seattle, Washington 98104
                                                                           Tel. 206.787.1915
                                                                          Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 25 of 30




 1
                                XV. SECOND CAUSE OF ACTION
 2                             BREACH OF IMPLIED WARRANTIES

 3          131.     Plaintiffs hereby incorporate by reference the allegations of this Complaint
 4   contained in each of the preceding paragraphs as if fully stated herein.
 5
            132.     At all times relevant to this litigation, Defendant engaged in the business of
 6
     testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting its
 7
     Roundup products, which are defective and unreasonably dangerous to consumers, including
 8
     Plaintiffs, thereby placing Roundup products into the stream of commerce. These actions were
 9

10   under the ultimate control and supervision of Defendant.

11          133.     Before the time Plaintiff JOHN EDWARD COE was exposed to the use of the
12   aforementioned Roundup products, Defendant impliedly warranted to its consumers—including
13
     Plaintiff—that its Roundup products were of merchantable quality and safe and fit for the use for
14
     which they were intended; specifically, as agricultural and horticultural herbicides.
15
            134.     Defendant, however, failed to disclose that Roundup has dangerous propensities
16
     when used as intended and that the use of and/or exposure to Roundup and glyphosate-containing
17

18   products carries an increased risk of developing severe injuries, including Plaintiffs’ injuries.

19          135.     Upon information and belief, Plaintiff reasonably relied upon the skill, superior

20   knowledge and judgment of Defendant and upon its implied warranties that the Roundup
21
     products were of merchantable quality and fit for their intended purpose or use.
22
            136.     Upon information and belief, Plaintiff JOHN EDWARD COE was at all relevant
23
     times in privity with Defendant.
24
            137.     Plaintiff is the intended third-party beneficiary of implied warranties made by
25

26   Defendant to the purchasers of their agricultural and horticultural herbicides and as such they are
                                                                     Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                     110 Prefontaine Place South, Suite 304
      PAGE 25                                                            Seattle, Washington 98104
                                                                              Tel. 206.787.1915
                                                                             Fax. 206.299.9725
               Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 26 of 30




 1
     entitled to assert this claim.
 2
             138.     The Roundup products were expected to reach and did in fact reach consumers
 3
     and users, including Plaintiff JOHN EDWARD COE, without substantial change in the condition
 4
     in which they were manufactured and sold by Defendant.
 5

 6           139.     At all times relevant to this litigation, Defendant was aware that consumers and

 7   users of its products, including Plaintiff JOHN EDWARD COE, would use Roundup products as
 8   marketed by Defendant, which is to say that Plaintiff was a foreseeable user of Roundup.
 9
             140.     Defendant intended that its Roundup products be used in the manner in which
10
     Plaintiff JOHN EDWARD COE in fact used them and Defendant impliedly warranted each
11
     product to be merchantable quality, safe, and fit for this use, despite the fact that Roundup was
12
     not adequately tested or researched.
13

14           141.     In reliance upon Defendant’s implied warranty, Plaintiff JOHN EDWARD COE

15   used Roundup as instructed and labeled and in the foreseeable manner intended, recommended,

16   promoted, and marketed by Defendant.
17
             142.     Plaintiff JOHN EDWARD COE could not have reasonably discovered or known
18
     of the risks of serious injury associated with Roundup or glyphosate.
19
             143.     Defendant breached its implied warranty to Plaintiff JOHN EDWARD COE in
20
     that its Roundup products were not of merchantable quality, safe, or fit for their intended use, or
21

22   adequately tested. Roundup has dangerous propensities when used as intended and can cause

23   serious injuries, including those injuries complained of herein.

24           144.     The harm caused by Defendant’s Roundup products far outweighed their benefit,
25   rendering the products more dangerous than an ordinary consumer or user would expect and more
26
                                                                    Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                    110 Prefontaine Place South, Suite 304
      PAGE 26                                                           Seattle, Washington 98104
                                                                             Tel. 206.787.1915
                                                                            Fax. 206.299.9725
               Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 27 of 30




 1
     dangerous than alternative products.
 2
             145.       As a direct and proximate result of Defendant placing its defective Roundup
 3
     products into the stream of commerce, Plaintiffs suffered injuries, endured physical pain and
 4
     discomfort, as well as loss of consortium, economic hardship, including considerable financial
 5

 6   expenses for medical care and treatment, along with other damages further discussed herein.

 7                           XVI. THIRD CAUSE OF ACTION
                  VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT
 8
             146.       Plaintiffs hereby incorporate by reference the allegations of this Complaint
 9

10   contained in each of the preceding paragraphs as if fully stated herein.

11           147.       Defendant violated the Washington Consumer Protection Act (“CPA”).
12           148.       Defendant engaged in unfair or deceptive acts or practices including, but not
13
     limited to, the following:
14
             a)         engaging in acts and practices by willfully failing and refusing to
15                      timely report information that reasonably suggested Roundup,
                        like that used by Plaintiffs, may cause or contribute to cause
16                      cancer and other serious illnesses;
             b)         representing knowingly or with reason to know that Roundup has
17
                        approval, characteristics, uses, or benefits that it does not have;
18           c)         representing knowingly or with reason to know that Roundup is
                        of a particular standard, quality, or grade when it differs
19                      materially from that representation; and/or
             d)         representing knowingly or with reason to know that Roundup has
20                      uses, benefits, or characteristics that have been otherwise proven
21                      incorrect;

22           149.       Defendant’s unfair and deceptive acts or practices described above were

23   committed in the course of Defendant’s trade or commerce.
24           150.       Defendant’s unfair and deceptive acts or practices described above affected the
25
     public interest.
26
                                                                      Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                      110 Prefontaine Place South, Suite 304
      PAGE 27                                                             Seattle, Washington 98104
                                                                               Tel. 206.787.1915
                                                                              Fax. 206.299.9725
                Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 28 of 30




 1
               151.   Defendant’s violation of the Washington CPA caused Plaintiffs’ injuries and
 2
     damages set forth herein.
 3
                                 XVII. FOURTH CAUSE OF ACTION
 4                                      PUNITIVE DAMAGES
 5
               152.   Plaintiffs incorporate herein by reference, as though fully set forth at length, each
 6
     and every allegation and statement contained in the foregoing paragraphs.
 7
               153.   Defendant is liable for punitive and/or exemplary damages under choice of law
 8
     principles. Defendant acted with willful disregard for the rights of the Plaintiffs and the public.
 9

10   Defendant’s conduct was outrageous and reckless toward the safety of the Plaintiffs and the

11   public.
12                             XVIII.        FIFTH CAUSE OF ACTION
                                         LOSS OF CONSORTIUM
13

14             154.   Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

15   fully set forth herein, and further allege:
16             155.   Plaintiff HEATHER NICOLE COE, at all times relevant, was and is the lawful
17
     wife of Plaintiff JOHN EDWARD COE.
18
               156.   As a direct, legal, and proximate result of the culpability and fault of Defendant,
19
     be such fault through strict liability, negligence or otherwise, Plaintiff HEATHER NICOLE COE
20

21   suffered the loss of support, services, love, companionship, affection, society, intimate relations,

22   and other elements of consortium, all to her general damage in an amount in excess of the

23   jurisdictional minimum of this Court.
24             157.   Plaintiffs demand judgment against Defendant for compensatory and punitive
25
     damages such as a jury may award, and such other relief as the Court deems just and proper in
26
                                                                      Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                      110 Prefontaine Place South, Suite 304
      PAGE 28                                                             Seattle, Washington 98104
                                                                               Tel. 206.787.1915
                                                                              Fax. 206.299.9725
              Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 29 of 30




 1
     order to remedy Plaintiff HEATHER NICOLE COE’s loss of consortium.
 2

 3
                                    XIX. PRAYER FOR RELIEF
 4

 5           WHEREFORE, Plaintiffs demand judgment against the Defendant on each of the

 6    above- referenced claims and causes of action and as follows:

 7          1.      Awarding Plaintiffs compensatory non-economic damages in excess of the
 8
      jurisdictional amount, including, but not limited to past and future pain, suffering,
 9
      emotional distress, disability, loss of enjoyment of life, loss of consortium and other non-
10
      economic damages and losses;
11
            2.      Awarding Plaintiffs their economic damages and losses, including without
12

13    limitation past and future medical expenses, out of pocket expenses, lost earnings and lost

14    earning capacity, lost household services, and other economic damages in an amount to be
15    determined at trial;
16
            3.      Awarding punitive damages;
17
            4.      Awarding pre-judgment interest;
18
            5.      Awarding post-judgment interest;
19

20          6.      Awarding Plaintiffs reasonable attorneys’ fees;

21          7.      Awarding Plaintiffs the costs of these proceedings;

22          8.      Treble damages in the maximum amounts permitted by RCW
23    19.86.090; and
24
            9.      Such other and further relief as this Court deems just and proper.
25

26
                                                                   Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                   110 Prefontaine Place South, Suite 304
      PAGE 29                                                          Seattle, Washington 98104
                                                                            Tel. 206.787.1915
                                                                           Fax. 206.299.9725
             Case 2:22-cv-00248-JLR Document 1 Filed 03/03/22 Page 30 of 30




 1
                                XX.     DEMAND FOR JURY TRIAL
 2
            Plaintiffs hereby demand trial by jury as to all issues.
 3

 4   DATED this 3rd day of March, 2022.           CORRIE YACKULIC LAW FIRM, PLLC
 5
                                                  /s/ Corrie J. Yackulic ____________
 6                                                Corrie J. Yackulic, WSBA No. 16063
                                                  110 Prefontaine Place South, Ste. 304
 7                                                Seattle, Washington 98104
                                                  Tel. 206.787.1915
 8                                                Fax. 206.299.9725
 9                                                Corrie@cjylaw.com

10                                                Attorney for Plaintiffs

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
                                                                    Corrie Yackulic Law Firm PLLC
27    COMPLAINT                                                    110 Prefontaine Place South, Suite 304
      PAGE 30                                                           Seattle, Washington 98104
                                                                             Tel. 206.787.1915
                                                                            Fax. 206.299.9725
